           Case 4:09-cr-00278-BRW Document 373 Filed 02/14/14 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                    4:09-CR-00278-02-BRW

SILAS ROYNEL SWIFT

                                              ORDER

       Pending is Defendant’s Motion for Certificate of Appealability.

       The standard for evaluating a certificate of appealability petition is established in

28 U.S.C. § 2253(c)(2): “A certificate of appealability may issue . . . only if the applicant has

made a substantial showing of the denial of a constitutional right.” The Eighth Circuit has

explained that “[a] substantial showing is a showing that issues are debatable among reasonable

jurists, a court could resolve the issues differently, or the issues deserve further proceedings.”1

       Since Defendant has not made a substantial showing of the denial of any constitutional

right, the Motion for Certificate of Appealability is DENIED.

       IT IS SO ORDERED this 14th day of February, 2014.


                                                           /s/ Billy Roy Wilson
                                                            UNITED STATES DISTRICT JUDGE




       1
        Cox v. Norris, 133 F.3d 565, 569 (8th Cir. 1997).

                                                  1
